









Dismissed and Memorandum Opinion filed May 6, 2004









Dismissed and Memorandum Opinion filed May 6, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00232-CR

____________

&nbsp;

FLORIS
JOSE ZAVALA, Appellant

&nbsp;

V.

&nbsp;

THE STATE
OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 179th District Court

Harris
County, Texas

Trial Court Cause No. 960,860

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated robbery.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, on March 5, 2004, the trial court sentenced
appellant to confinement for twelve years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp;
Appellant filed a written notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 6, 2004.

Panel consists of Chief Justice
Hedges and Justices Frost and Guzman. 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;

&nbsp;





